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 6    SANTIAGO CAPUL

 7                                   UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
 8                                        SOUTHERN DIVISION
 9    SANTIAGO CAPUL,                                ) Case No.: 8:14-cv-01798-DFM
                                                     )
10
                       Plaintiff,                    )
11         v.                                        )
      MIDLAND CREDIT                                 ) NOTICE OF SETTLEMENT
12    MANAGEMENT, LLC.,                              )
                                                     )
13                    Defendant.                     )
                                                     )
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                                                     )
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16
                       NOW COMES the Plaintiff, SANTIAGO CAPUL, by and through the undersigned
17
      counsel and hereby informs the court that a settlement of the present matter has been reached and
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      is in the process of finalizing settlement, which Plaintiff anticipates will be finalized within the
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      next 60 days.
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             Plaintiff therefore requests that this honorable court vacate all dates currently set on
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22    calendar for the present matter.

23                                         Respectfully Submitted,

24
      Dated: August 7, 2015                KROHN & MOSS LTD
25
                                           /s/ Ryan Lee
26                                         Ryan Lee, Esq.
                                           Attorney for Plaintiff,
27                                         SANTIAGO CAPUL
28                                                   1
      _______________________________________________________________________________________________
29                                       NOTICE OF SETTLEMENT
30
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 1                                   CERTIFICATE OF SERVICE

 2           I hereby certify that on August 7, 2015, I electronically filed the foregoing Notice of
 3
      Settlement with the Clerk of the Court by using the CM/ECF System. I further certify that on
 4
      August 7, 2015 I served all counsel of record with a copy of this document by way of the CM/ECF
 5
      system.
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                                          By:    /s/ Ryan Lee
 9                                               Ryan Lee, Esq.

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      _______________________________________________________________________________________________
29                                     NOTICE OF SETTLEMENT
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